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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION
                                     1:23-cr-00047-MHC-JEM
                                        USA v. Kneubuhler
                                     Honorable Mark H. Cohen

                      Minute Sheet for proceedings held In Open Court on 04/09/2024.


     TIME COURT COMMENCED: 1:34 P.M.                 COURT REPORTER: Judith Wolff
     TIME COURT CONCLUDED: 4:07 P.M.                 CSO/DUSM: CSO 1
     TIME IN COURT: 2:33                             USPO: Hattie Wilson
     OFFICE LOCATION: Atlanta                        DEPUTY CLERK: Lisa Enix

DEFENDANT(S):           [1]Kristopher Kneubuhler Present at proceedings
ATTORNEY(S)             Steven Berne representing Kristopher Kneubuhler
PRESENT:                Theodore Hertzberg representing USA
                        Lawrence Zimmerman representing Kristopher Kneubuhler
PROCEEDING
                   Sentencing Hearing(Sentencing Hearing Non-evidentiary);
CATEGORY:
PLEADINGS FILED IN
                   Agreed Restitution Order
COURT:
MINUTE TEXT:       Government had no objection to the PSR. Defendant objects to paragraph
                   #29. Court has Overruled the objection. PSR was adopted by the Court to
                   which no objections had been raised. Court set forth sentencing guideline
                   calculations. No objections to the guidelines as stated. Parties presented
                   argument and recommendation regarding a reasonable sentence.
                   Government's exhibits #1, 2, 3, 4, 5, 6, 7, 8, 9, Admitted. The Government
                   orally moved to seal these exhibits. The Court Granted this motion and
                   Governments exhibits 1-9 are SEALED. Court advised defendant of his right
                   of allocution. Defendant made a statement on his behalf. Sentence
                   pronounced. See J&C for details. 3553 factors stated by Court. Appeal rights
                   given.
HEARING STATUS:    Hearing Concluded
EXHIBIT STATUS:    Exhibits retained by the Court to be forwarded to the Clerks Office.
